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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON, DIVISION
JASON JERMAINE TOLLIVER                                §
                                                       §
                   Plaintiff,                          §
                                                       §
   vs.                                                 §
                                                       §
PRAIRIE VIEW A&M UNIVERSITY,                           §
GEORGE C. WRIGHT, Individually and                     §
In his official capacity, ZENA STEPHENS,               § CIVIL ACTION NO.4:18-CV-01192
Individually and in her individual capacity,           §   JURY DEMAND
DENISE M. SIMMONS, Individually and                    §
in her individual capacity, TAYLOR WILLIAMS,
Individually and in her individual capacity,           §
DONNIE P. HOWARD, JR. and in his official              §
capacity, Officer Robinson, Individually               §
and in his individual capacity AND WALLER              §
COUNTY SHERIFF’s JOHN DOE
UNKNOWN OFFICERS
in their individual capacities
           Defendants,


                          OPPOSED/UNOPPOSED MOTION TO WITHDRAW


  TO THE HONORABLE CHIEF JUDGE LEE ROSENTHAL:


      NOW COMES, Attorney Debra V. Jennings respectfully requesting this court to allow her to

  withdraw as attorney for Jason Jermaine Tolliver. In the above entitled matter. Attorney




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Jennings seeks to withdraw due to a conflict. In all probability Mr. Tolliver will retain the

services of another attorney.

     In order to avoid any foreseeable prejudice to the rights of Mr. Tolliver, Attorney Debra

Jennings respectfully request this court to allow Mr. Tolliver a reasonable continuance and a

reasonable extension of any and all deadlines within the court’s discretion. This motion is not

sought for purposes of delay, but so that justice may be done. This motion is unopposed.

    Accordingly, Debra Jennings, respectfully request that this motion to withdraw and

continuance be granted.


                                             Respectfully submitted,


                                             By: ​/s/ ​Debra V. Jennings
                                             Debra V. Jennings
                                             State Bar No. 10631850
                                             Federal Bar ID: 14373
                                             Law Office of Debra V. Jennings
                                             6140 HWY 6, # 269
                                             Missouri City, Texas 77459
                                             Telephone (832) 230-4455
                                             Facsimile: (832) 230-4452 Email:
                                             lawyerdvj@gmail.com
                                             ATTORNEY FOR THE PLAINTIFF

                                CERTIFICATE OF CONFERENCE

 I hereby certify that on September 10, 2018 I conferred via electronic mail and via
telephone calls to each Counsel and this motion is unopposed.



/s/ ​Debra V. Jennings




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 I​ hereby certify that on September 10, 2018, I conferred with Plaintiff, Jason Tolliver
1344 Darden Rd. Jackson, Mississippi 39213 via electronic mail and he opposes my
motion to withdraw.



/s/ ​Debra V. Jennings
                                CERTIFICATE OF SERVICE

   I hereby certify that a true and correct copy of the foregoing Opposed Motion to Withdraw
has been served on all counsel of record electronically by the District Court’s Electronic Filing
System on September 21, 2018.


/s/ ​Debra V. Jennings
__________________
Debra V. Jennings




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